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5
                       IN THE UNITED STATES DISTRICT COURT
6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                       ) Case No.: CR.S. 10-347 MCE
     United States of America,          )
9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,              ) STATUS CONFERENCE
10                                      )
          vs.                           ) Court: Hon. Morrison C. England
11                                      ) Time:   9:00 a.m.
                                        ) Date:   September 27, 2012
12   Torey Moore,                       )
                                        )
13              Defendant
14

15

16        Defendant Torey Moore, by and through his undersigned counsel and
17   the United States Government, by and through Assistant United States
18   Attorney Todd Leras, hereby agree and stipulate that the status
19   conference previously scheduled for September 27, 2012 be continued
20   until October 25, 2012 and that date is available with the Court.       Mr.
21   Moore is charged in a five count indictment alleging violations of 21
22   U.S.C. §§s 841(a)(1) and § 846 – possession with intent to distribute
23   and conspiracy to distribute methamphetamine.    Mr. Moore expects to
24   receive his pre-plea pre-sentence report this week. The parties will
25   need to review this report prior to court and therefore request that
26   the matter be continued to allow both government and defense review to
27   be completed.   Therefore, the parties request a status conference date
28   of October 25, 2012 and that date is available with the Court.




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1                                   The parties agree that time should be excluded under 18 U.S.C. §

2    3161(h)(8)(i) for defense preparation and under local code T4.

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4
     Dated: September 25, 2012                                            Respectfully submitted,
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6

7                                                               __/s/ Shari Rusk___
                                                                Shari Rusk
8                                                               Attorney for Defendant
                                                                Torey Moore
9

10                                                                 /s/ Todd Leras
                                                                   Todd Leras
11                                                                 Assistant United States Attorney
12

13
                                                           ORDER
14

15
                                    IT IS SO ORDERED.   The Court finds excludable time through
16
     October 25, 2012, based on Local Code T4, giving counsel reasonable
17
     time to prepare.                            The Court finds that the ends of justice served by
18
     granting this continuance outweigh the best interests of the public
19
     and the defendant to a speedy trial.
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21
     Dated:                            September 28, 2012

22                                                            __________________________________
                                                              MORRISON C. ENGLAND, JR
23                                                            UNITED STATES DISTRICT JUDGE
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